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12   UNITED STATES OF AMERICA
13                        UNITED STATES DISTRICT COURT
14                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
15
                          WESTERN DIVISION
16                                 ) NO. 2:18-CV-3855
     UNITED STATES OF AMERICA,
17                                 )
              Plaintiff,           )
18                                 )
                     vs.           ) VERIFIED COMPLAINT FOR
19                                 ) FORFEITURE IN REM
                                   )
20   APPROXIMATELY $107,539,422.29 )
     IN FUNDS AND SECURITIES,      ) [18 U.S.C. § 981(a)(1)(A) and (C)]
21                                 )
              Defendant.           )
                                   )     [F.D.A. and I.R.S.]
22                                 )
23                                 )

24
           The United States of America brings this claim against the defendant
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     approximately $107,539,422.29 in funds and securities, and alleges as follows:
26
     I.    JURISDICTION AND VENUE
27
           1.    This is a civil forfeiture action brought pursuant to 18 U.S.C.
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1    § 981(a)(1)(A) and (C).
2          2.     This court has jurisdiction over the matter under 28 U.S.C. §§ 1345
3    and 1355.
4          3.     Venue lies in this district pursuant to 28 U.S.C. § 1395(b).
5 II.      PERSONS AND ENTITIES
6          4.     The plaintiff is the United States of America.
7          5.     The defendants are:
8                 a.    All funds and securities on deposit as of June 4, 2014, in
9    Deutsche Bank Securities, Inc. account number 5XL-066365 (“DB 6365”), held in
10   the name of Property Care Insurance, Inc. (“PCI”).1
11                      (i)    The opening deposit into this account was made on June
12   7, 2011. The signatory on the account is Cindy Omidi (“C. Omidi”), President.
13   The mailing address shown on the bank statements for this account is P.O. Box
14   24947, Los Angeles CA 90024 which has been held by the Omidis since 2000.
15                      (ii)   The funds and securities in DB 6365 were seized on June
16   4, 2014, pursuant to a federal seizure warrant. At the time of the seizure, the net
17   value of the funds and securities on deposit in DB 6365 was approximately
18   $19,088,200.31. Following the seizure, the account was re-designated as account
19   number 5XL-001768, and placed under the control of the United States Marshals
20   Service (“USMS”), the government custodian of the account. On May 12, 2015,
21   pursuant to an agreement between the government and PCI, the sum of $2,250,000
22   was released from government custody to Sheppard, Mullin, Richter, and
23   Hampton, LLP (PCI’s counsel at the time) for application to the expenses of a
24   discovery-related matter. No other funds have been released. The account and its
25
           1
26            References to bank accounts consist of an abbreviation of the bank name
27   (“DB” for Deutsche Bank Securities, Inc.; “WFB” for Wells Fargo Bank; “BofA”
     for Bank of America; and “Chase” for JP Morgan Chase Bank), followed by the
28   last four digits of the account number.
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1    remaining contents are, and shall remain, in the custody and control of the USMS,
2    and under the jurisdiction of this Court, during the pendency of this action.
3                 b.    All funds and securities on deposit as of June 4, 2014, in
4    Deutsche Bank account number 5XL-066605 (“DB 6605”), held in the name of
5    PCI.
6                       (i)    The opening deposit into this account was made on June
7    8, 2011. The signatory on the account is C. Omidi, President. The mailing address
8    shown on the bank statements for this account is P.O. Box 24947, Los Angeles CA
9    90024.
10                      (ii)   The funds and securities in DB 6605 were seized on June
11   4, 2014, pursuant to a federal seizure warrant. At the time of the seizure, the net
12   value of the funds and securities on deposit in DB 6605 was approximately
13   $2,707,785.01. Following the seizure, the account was re-designated as account
14   number 5XL-001776, and placed under the control of the USMS, the government
15   custodian of the account. The account and its contents are, and shall remain, in the
16   custody and control of the USMS, and under the jurisdiction of this Court, during
17   the pendency of this action.
18                c.    All funds and securities on deposit as of June 4, 2014, in
19   Deutsche Bank account number 5XL-069112 (“DB 9112”), held in the name of
20   The Asset Management Irrevocable Trust MO UAD 01/27/12, AsiaTrust Limited
21   (Trustee), FBO C. Omidi and M. Omidi, et al. M. Omidi was the principal.
22                      (i)    The opening deposit into this account was made on
23   March 8, 2012. The Trust Authorization for this account was signed on February
24   29, 2012, by Angela Pope and Lora Tauira on behalf of AsiaTrust Nevis Limited.
25                      (ii)   The funds and securities in DB 9112 were seized on June
26   4, 2014, pursuant to a federal seizure warrant. At the time of the seizure, the net
27   value of the funds and securities on deposit in DB 9112 was approximately
28   $22,372,928.27. Following the seizure, the account was re-designated as account
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1    number 5XL-001784, and placed under the control of the USMS, the government
2    custodian of the account. The account and its contents are, and shall remain, in the
3    custody and control of the USMS, and under the jurisdiction of this Court, during
4    the pendency of this action.
5                 d.    All funds and securities on deposit as of June 4, 2014, in
6    Deutsche Bank account number 5XL-878033 (“DB 8033”), held in the name of
7    The Asset Management Irrevocable Trust MO UAD 01/27/12, AsiaTrust Limited
8    (Trustee), FBO C. Omidi and M. Omidi, et al.
9                       (i)    The opening deposit into this account was made on May
10   1, 2013. The Option Agreement and Approval Form for this account was signed
11   by Angela Pope and Lisa Iro on January 15, 2013.
12                      (ii)   The funds and securities in DB 8033 were seized on June
13   4, 2014, pursuant to a federal seizure warrant. At the time of the seizure, the net
14   value of the funds and securities on deposit in DB 8033 was approximately
15   $3,701,563.30. Following the seizure, the account was re-designated as account
16   number 5XL-001800, and placed under the control of the USMS, the government
17   custodian of the account. The account and its contents are, and shall remain, in the
18   custody and control of the USMS, and under the jurisdiction of this Court, during
19   the pendency of this action.
20                e.    All funds and securities on deposit as of June 4, 2014, in
21   Deutsche Bank account number 5XL-878272 (“DB 8272”), held in the name of
22   The Asset Management Irrevocable Trust MO UAD 01/27/12, AsiaTrust Limited
23   (Trustee), FBO C. Omidi and M. Omidi, et al.
24                      (i)    The opening deposit into this account was made on
25   August 12, 2013. The Option Agreement and Approval Form for this account was
26   signed by Angela Pope and Lora Tauira, on behalf of AsiaTrust Nevis Limited, on
27   July 29, 2013.
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1                       (ii)   The funds and securities in DB 8272 were seized on June
2    4, 2014, pursuant to a federal seizure warrant. At the time of the seizure, the net
3    value of the funds and securities on deposit in DB 8272 was approximately
4    $1,161,361.28. Following the seizure, the account was re-designated as account
5    number 5XL-001818, and placed under the control of the USMS, the government
6    custodian of the account. The account and its contents are, and shall remain, in the
7    custody and control of the USMS, and under the jurisdiction of this Court, during
8    the pendency of this action.
9                 f.    All funds and securities on deposit as of June 4, 2014, in
10   Deutsche Bank account number 5XL-069120 (“DB 9120”), held in the name of
11   The Asset Management Irrevocable Trust UAD 01/27/12, AsiaTrust Limited
12   (Trustee), FBO C. Omidi and M. Omidi, et al (J. Omidi was the principal).
13                      (i)    The opening deposit into this account was made on
14   March 8, 2012. The Trust Authorization for this account was signed by Angela
15   Pope and Lora Tauira, on behalf of AsiaTrust Nevis Limited, on February 29,
16   2012.
17                      (ii)   The funds and securities in DB 9120 were seized on June
18   4, 2014, pursuant to a federal seizure warrant. At the time of the seizure, the net
19   value of the funds and securities on deposit in DB 9120 was approximately
20   $24,082,619.37. Following the seizure, the account was re-designated as account
21   number 5XL-001826, and placed under the control of the USMS, the government
22   custodian of the account. The account and its contents are, and shall remain, in the
23   custody and control of the USMS, and under the jurisdiction of this Court, during
24   the pendency of this action.
25                g.    All funds and securities on deposit as of June 4, 2014, in
26   Deutsche Bank account number 5XL-878025 (“DB 8025”), held in the name of
27   The Asset Management Irrevocable Trust UAD 01/27/12, AsiaTrust Limited
28   (Trustee), FBO C. Omidi and M. Omidi, et al (J. Omidi was the principal).
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1                       (i)    The opening deposit into this account was made on May
2    2, 2013. The Option Agreement and Approval Form for this account was signed
3    by Angela Pope and Lisa Iro on January 15, 2013.
4                       (ii)   The funds and securities in DB 8025 were seized on June
5    4, 2014, pursuant to a federal seizure warrant. At the time of the seizure, the net
6    value of the funds and securities on deposit in DB 8025 was approximately
7    $3,696,338.19. Following the seizure, the account was re-designated as account
8    number 5XL-001842, and placed under the control of the USMS, the government
9    custodian of the account. The account and its contents are, and shall remain, in the
10   custody and control of the USMS, and under the jurisdiction of this Court, during
11   the pendency of this action.
12                h.    All funds and securities on deposit as of June 4, 2014, in
13   Deutsche Bank account number 5XL-878264 (“DB 8264”), held in the name of
14   The Asset Management Irrevocable Trust UAD 01/27/12, AsiaTrust Limited
15   (Trustee), FBO C. Omidi and M. Omidi, et al (J. Omidi was the principal).
16                      (i)    The opening deposit into this account was made on
17   August 12, 2013. The Option Agreement and Approval Form for this account was
18   signed by Angela Pope and Lora Tauira on July 29, 2013.
19                      (ii)   The funds and securities in DB 8264 were seized on June
20   4, 2014, pursuant to a federal seizure warrant. At the time of the seizure, the net
21   value of the funds and securities on deposit in DB 8264 was approximately
22   $1,161,361.29. Following the seizure, the account was re-designated as account
23   number 5XL-001859, and placed under the control of the USMS, the government
24   custodian of the account. The account and its contents are, and shall remain, in the
25   custody and control of the USMS, and under the jurisdiction of this Court, during
26   the pendency of this action.
27                i.    All funds and securities on deposit as of June 4, 2014, in
28   Deutsche Bank account number 5XL-069104 (“DB 9104”), held in the name of
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1    The Asset Management Irrevocable Trust CO UAD 01/27/12, AsiaTrust Limited
2    (Trustee), FBO C. Omidi and M. Omidi, et al. C. Omidi was the principal.
3                       (i)    The opening deposit into this account was made on
4    March 8, 2012. The Trust Authorization for this account was signed by Angela
5    Pope and Lora Tauira, on behalf of AsiaTrust Limited, on February 29, 2012. The
6    account statements showed the same P.O. Box mailing address as the accounts
7    described above.
8                       (ii)   The funds and securities in DB 9104 were seized on June
9    4, 2014, pursuant to a federal seizure warrant. At the time of the seizure, the net
10   value of the funds and securities on deposit in DB 9104 was approximately
11   $220,947.56. Following the seizure, the account was re-designated as account
12   number 5XL-001867, and placed under the control of the USMS, the government
13   custodian of the account. The account and its contents are, and shall remain, in the
14   custody and control of the USMS, and under the jurisdiction of this Court, during
15   the pendency of this action.
16                j.    All funds and securities on deposit as of June 4, 2014, in
17   Deutsche Bank account number 5XL-878579 (“DB 8579”), held in the name of
18   PCI.
19                      (i)    The opening deposit into this account was made on April
20   2, 2014. The Option Agreement and Approval Form for this account was
21   purportedly signed by C. Omidi on March 31, 2014.
22                      (ii)   The funds and securities in DB 8579 were seized on June
23   4, 2014, pursuant to a federal seizure warrant. At the time of the seizure, the net
24   value of the funds and securities on deposit in DB 8579 was approximately
25   $14,299,287.71. Following the seizure, the account was re-designated as account
26   number 5XL-001875, and placed under the control of the USMS, the government
27   custodian of the account. The account and its contents are, and shall remain, in the
28   custody and control of the USMS, and under the jurisdiction of this Court, during
                                               7
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1    the pendency of this action. (The defendant funds and securities described in
2    subparagraphs (a) through (j) are referred to collectively as the “DB Assets”).2
3                 k.     $5,630,385.00 in funds seized pursuant to a federal seizure
4    warrant on June 24, 2014, from Bank of America account number 11548-63195
5    (“BofA 3195”), held in the name of PCI.
6                        (i)    The opening deposit into this account was made on
7    December 31, 2009. The signatory is C. Omidi, as President of PCI. The mailing
8    address shown on the bank statements for PCI from the opening of the account
9    through February 28, 2011, was 9001 Wilshire Boulevard, Beverly Hills, CA
10   90211, an address leased and controlled by the Omidis. The mailing address
11   shown on the bank statements from March 1, 2011 through April 30, 2015 is P.O.
12   Box 24947, Los Angeles CA 90024.
13                       (ii)   The funds seized from BofA 3195 are in the custody of
14   the United States Treasury Department (“Treasury”), the government custodian of
15   the funds, and shall remain in the custody and control of the Treasury, and under
16   the jurisdiction of this Court, during the pendency of this action.
17                l.     $11,666,645.00 in funds seized pursuant to a federal seizure
18   warrant on June 24, 2014, from Bank of America account number 11548-63190
19   (“BofA 3190”), held in the name of PCI.
20                       (i)    The opening deposit into this account was made on
21   December 30, 2009. The signatory is C. Omidi, as President of PCI. The mailing
22
23         2
              The value of the funds and securities in the DB Accounts since their
24   seizure has fluctuated, and is expected to continue to do so. Since the seizure, the
     only activity in the DB Accounts has been the accrual of interest, trades and
25   acquisitions that occurred pursuant to instructions provided by the account holders
26   prior to the seizure (including put and call options that have since expired), and
27   changes in the securities holdings resulting from actions by the issuers of the
     securities held. The government has ordered no trades of any securities in the DB
28   Accounts since the seizure date.
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1    address shown on the bank statements for PCI from the opening of the account
2    through February 28, 2011, was 9001 Wilshire Boulevard. The mailing address
3    shown on the bank statements from March 1, 2011 through the present is P.O. Box
4    24947.
5                       (ii)   The funds seized from BofA 3190 are in the custody of
6    the Treasury, the government custodian of the funds, and shall remain in the
7    custody and control of the Treasury, and under the jurisdiction of this Court, during
8    the pendency of this action. (The defendant funds described in subparagraphs (k)
9    and (l) are referred to collectively as the “BofA Assets”).
10         6.     This complaint alleges a fraud scheme involving a network of more
11   than 200 entities that worked together to promote, perform, and submit insurance
12   claims for Lap-Band surgeries and other medical procedures, including sleep
13   studies and nutritional and psychological services, in the Central District of
14   California and elsewhere, between at least in or about 2008 and the present. In
15   addition to the parties identified above (which are the holders of the accounts in
16   which the defendant assets are held or from which they were seized), there are or
17   were numerous entities that are or were owned and/or controlled by one or more of
18   C. Omidi, Michael Omidi (“M. Omidi”) and Julian Omidi (“J. Omidi”)
19   (collectively, “the Omidis”), as well as associates of the Omidis who conspired
20   with one or more of them or otherwise facilitated the illegal activities described
21   herein. The Omidis and the associated individuals and entities listed below acted
22   in knowing concert to commit the acts alleged in this complaint, resulting in the
23   fraudulent collection of more than $200 million in payments from insurance
24   companies, individuals who had health insurance with those insurance companies,
25   employer health plans, employees insured by those health plans, government
26   health care programs and others. Collectively, the Omidis, the entities identified in
27   paragraph 5 above, the associated individuals and entities listed below, and
28   additional unnamed entities that are or were owned or controlled by the Omidis
                                               9
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1    during any part of the relevant period, are referred to herein as “GET THIN” or
2    “the GET THIN entities.” GET THIN was controlled by the Omidis who, together
3    with others: (a) set and reviewed GET THIN’s policies and procedures, including
4    policies and procedures with respect to the services GET THIN would provide, the
5    billing for those services, and materials submitted to insurance companies and
6    others responsible for health care plans; (b) reviewed individual patient files and
7    claims for services submitted to insurance carriers; (c) approved GET THIN
8    expenses; and (d) engaged in the financial transactions described herein, which
9    were undertaken with the intent to obtain money through misrepresentation and
10   omissions of material facts, promote the illegal scheme described herein (including
11   the individual illegal acts that made up the scheme), and conceal or disguise the
12   nature, source, location, ownership and control of the proceeds of the scheme and
13   its underlying illegal acts. The majority of the financial accounts described herein
14   were controlled by the Omidis, meaning that one or more of the Omidis is or was a
15   named accountholder or an authorized signer on the account, with the authority to
16   make withdrawals, deposits or transfers, or exercised control through a straw or
17   nominee account holder. (These accounts are referred to herein as “Omidi-
18   controlled accounts” or “accounts controlled by the Omidis,” and include the
19   business accounts for the GET THIN entities, including those where associates had
20   signature authority.) Not all of the entities owned and/or controlled by the Omidis
21   are listed below or described in this complaint, but the individuals and entities
22   listed were among those involved in some material way in the commission of the
23   acts described herein.
24                a.    Property Care Insurance, Inc. (“PCI”) was incorporated in
25   Nevis on December 15, 2009. C. Omidi was (and is believed to be) PCI's
26   President and Secretary. She was and is also a director, along with Jackie
27   Hunkins-Taylor. C. Omidi is believed to be the sole registered shareholder of PCI.
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1                 b.    The Asset Management Irrevocable Trust - MO was formed on
2    January 27, 2012, with M. Omidi as the “principal.” The trust was formed under
3    Nevis law, and the trust instrument is believed to have been signed by M. Omidi.
4    The listed beneficiaries of the trust are J. Omidi, C. Omidi, M. Omidi, Shawn
5    Pezeshk (“Pezeshk”), Edjlal Pezeshk, and Sharafatal Aghajani (“Aghajani”). The
6    trust instrument names AsiaTrust Nevis Limited as trustee, and identified
7    AsiaTrust Nevis Limited's place of registration, incorporation, and principal place
8    of business as Nevis. Pezeshk and Edjlal Pezeshk are believed to be relatives of
9    the Omidis. C. Omidi’s DMV records show that she was once known as Nahid
10   Pezeshk Omidi.
11                c.    The Asset Management Irrevocable Trust was formed on
12   January 27, 2012, with J. Omidi as the “principal,” under Nevis law. The trust
13   instrument appears to have been signed by J. Omidi. The listed beneficiaries of the
14   trust are J. Omidi, C. Omidi, M. Omidi, Pezeshk, Edjlal Pezeshk, and Aghajani.
15   The trustee is AsiaTrust Nevis Limited.
16                d.    The Asset Management Irrevocable Trust - CO was formed on
17   January 27, 2012, with C. Omidi as the “principal.” The trust was formed under
18   Nevis law and the trust instrument appears to have been signed by C. Omidi. The
19   listed beneficiaries of the trust are J. Omidi, C. Omidi, M. Omidi, Pezeshk, Edjlal
20   Pezeshk, and Aghajani. AsiaTrust Nevis Limited was the trustee.
21                e.    Surgery Center Management, LLC (“SCM”) was a limited
22   liability company organized in California on February 12, 2010. According to
23   statements of information filed on October 7, 2010 and February 25, 2011, Charles
24   Klasky (“Klasky”) was manager. SCM used the address 269 Beverly Drive, Suite
25   353, Beverly Hills, California 90212 (the “Suite 353 Address”). SCM had multiple
26   bank accounts, including accounts at Wells Fargo Bank (“WFB”) from in or about
27   July 2010 until in or about March 2012. Klasky was an employee of SCM starting
28   in or about July 2010. According to bank signature cards from WFB, J. Omidi was
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1    the CEO of SCM and C. Omidi was the Office Manager in 2010. A signature card
2    from BofA, also from 2010, appears to contain the signature of M. Omidi as the
3    “Managing Member” of SCM.
4                  f.     GSPM was organized in California on February 1, 2012, with
5    Alexander Weisse (“Weisse”) as the organizer. According to statements of
6    information filed on March 8, 2012 and May 9, 2013, Pezeshk was the CEO and
7    manager or member.
8                  g.     Independent Medical Services, Inc. A Professional Corporation,
9    (“IMS”) incorporated in California on April 9, 2010, operating primarily in
10   Beverly Hills, California, and used the Suite 353 Address. Robert Silverman
11   (“Silverman”) was the incorporator. According to a statement of information filed
12   on January 13, 2012, Elliot Alpert (“Alpert”) was CEO, CFO, and director. Klasky
13   was listed as secretary.
14                 h.     On or about March 15, 2012, IMS entered into an assignment
15   agreement with GSPM, under which IMS assigned to GSPM, among other things,
16   all of its rights, title, and interest in and to all accounts receivable, rights to receive
17   monies, and payments for services rendered by IMS and its physicians. In the
18   agreement, IMS described as its property a number of entities, including VIMA
19   Medical, Inc., a professional corporation (“VIMA”). VIMA was incorporated on
20   May 16, 2011 in California. According to a statement of information filed on May
21   22, 2012, Alpert was the CEO, secretary, CFO, and director. Weisse was the
22   incorporator.
23                 i.     Top Surgeons, Inc. (“Top Surgeons”) was incorporated in
24   California on July 6, 2006. According to a statement of information filed on
25   December 11, 2006, M. Omidi was CEO, secretary, CFO, and director. A
26   statement of information showing no changes was filed on May 3, 2007. Top
27   Surgeons, Inc. was converted to an LLC (with the same name) on May 14, 2008.
28   According to a statement of information filed on September 14, 2009, C. Omidi
                                                 12
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1    was CEO and J. Omidi was manager or member. According to statements of
2    information filed on November 8, 2010, and November 22, 2011, Klasky was
3    manager.3
4                 j.    1-800-Get-Thin, LLC (“1-800-Get-Thin”) was a limited
5    liability company organized in California on March 11, 2010, operating in Beverly
6    Hills, California. Silverman was the organizer. 1-800-Get-Thin leased to SCM the
7    “1-800-Get-Thin” telephone number (1-800-438-8446) and the URL
8    “800getthin.com,” from in or about 2010 to in or about 2015. As of June 12, 2014,
9    no statement of information was filed with the California Secretary of State.
10                k.    Royalty Surgical Center, LLC (“Royalty”) was organized in
11   California on November 15, 2013. According to a statement of information filed
12   on June 9, 2014, Tim Kollars was manager or member.
13                l.    DeVida USA, LLC (“DeVida”) was organized in California on
14   May 23, 2005. J. Omidi was the organizer and the initial agent for process of
15   service. According to a statement of information filed on July 9, 2012, Klasky was
16   CEO and manager or member.
17                m.    Modern Institute of Plastic Surgery and Antiaging, Inc.
18   (“MIPS) was incorporated in California on May 26, 2005. According to a
19   statement of information filed on March 5, 2010, Ryan Andrew Stanton was CEO,
20   secretary, CFO, and director. According to a statement of information listing, no
21   changes was filed on June 18, 2013. According to a statement of information filed
22   on September 10, 2014, Pezeshk was CEO, CFO, secretary and director.
23   According to a statement of information filed on May 25, 2016, Jamie Hildago was
24   CEO, CFO, secretary and director.
25
26
           3
27          Additionally, Top Surgeons, LLC was organized in Nevada on December
     10, 2008. The Nevada Secretary of State website listed Klasky and J. Omidi as
28   managers.
                                              13
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1                n.     Forward Business Solutions, LLC (“FBS”) was organized in
2    California on January 10, 2012. Weisse was the organizer. According to
3    statements of information filed on July 9, 2012 and October 2, 2013, Pezeshk was
4    CEO and member or manager.
5                o.     Almont Ambulatory Surgery Center, A Medical Corporation
6    (“Almont”) was incorporated in California on August 8, 2005. According to
7    statements of information filed on November 7, 2005 and July 3, 2007, M. Omidi
8    was CEO, secretary, CFO, and director. Almont was converted to an LLC (with
9    the same name) on December 16, 2009. The conversion paperwork listed M.
10   Omidi as president and secretary. According to a statement of information filed on
11   February 25, 2011, Klasky was manager.
12               p.     Bakersfield Surgery Institute, Inc. (“BSI”) was incorporated in
13   California on July 6, 2006. According to statements of information filed on April
14   26, 2007 and May 15, 2008, M. Omidi was CEO, secretary, CFO, and director.
15   BSI was converted to an LLC (with the same name) on June 20, 2008. The
16   conversion paperwork listed M. Omidi as president and secretary. According to a
17   statement of information filed on September 14, 2009, C. Omidi was CEO and J.
18   Omidi was manager or member. According to a statement of information filed on
19   February 25, 2011, Klasky was manager. According to a statement of information
20   filed on July 9, 2012, Alpert was CEO and manager or member.
21               q.     Silicon Valley Ambulatory Surgery Center, LLC was organized
22   in California on November 23, 2010. The name was changed on June 3, 2011 to
23   CIRO Surgery Center, LLC. A statement of information filed on July 9, 2012
24   listed Alpert as the CEO and manager or member.
25               r.     East Bay Ambulatory Surgery Center, LLC was organized in
26   California on November 15, 2010. Weisse was the organizer. According to a
27   statement of information filed on February 21, 2013, Pezeshk was CEO and
28   member or manager.
                                             14
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1                s.     New Life Surgery Center, LLC was organized in California on
2    June 9, 2010. Weisse was the organizer. According to a statement of information
3    filed on January 14, 2013, Pezeshk was CEO and member or manager.
4                t.     Beverly Hills Surgery Center, LLC was organized in California
5    on June 10, 2009. According to a statement of information filed on August 3,
6    2009, J. Omidi was CEO, and C. Omidi was manager or member. According to a
7    statement of information filed on July 9, 2012, Alpert was CEO and manager or
8    member.
9                u.     Orange Grove Surgery Center, LLC was organized in
10   California on February 24, 2011 by Weisse. According to a statement of
11   information fled on October 1, 2012, Pezeshk was CEO and manager or member.
12               v.     Palmdale Ambulatory Surgery Center, A Medical Corporation
13   was incorporated in California on November 4, 2005. M. Omidi was the initial
14   agent for service of process. According to a statement of information filed on
15   November 5, 2007, M. Omidi was CEO, secretary, CFO, and director. It was
16   converted to Palmdale Ambulatory Surgery Center, LLC pursuant to a document
17   filed on June 20, 2008, which was signed by M. Omidi as president and secretary
18   and J. Omidi was listed as the agent for service of process. According to a
19   statement of information filed on February 25, 2011, Klasky was manager.
20               w.     San Diego Ambulatory Surgery Center, LLC was organized in
21   California on December 15, 2009. J. Omidi was the organizer. According to a
22   statement of information filed on February 25, 2011, Klasky was manager.
23   According to a statement of information filed on October 1, 2012, Pezeshk was
24   CEO and R. Macatangay (“Macatangay”) was manager or member.
25               x.     San Joaquin Valley Surgery Center, LLC was organized in
26   California on March 4, 2011. Weisse was the organizer. According to a statement
27   of information filed on October 1, 2012, Alpert was CEO and manager or member.
28
                                             15
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1                y.     Skin Cancer and Reconstructive Surgery Specialists of Beverly
2    Hills, A Medical Corporation, was incorporated in California on October 31, 2005.
3    According to statements of information filed on December 31, 2009 and August 9,
4    2011, M. Omidi was CEO, secretary, CFO, and director. According to the
5    statement of information filed on August 9, 2011, Thomas Cloud was also a
6    director. According to a statement of information filed on October 9, 2012,
7    Pezeshk was CEO, secretary, CFO, and director.
8                z.     Skin Cancer and Reconstructive Surgery Specialists of West
9    Hills, A Medical Corporation, was incorporated in California on October 31, 2005.
10   According to a statement of information filed on December 31, 2009, M. Omidi
11   was CEO, secretary, CFO, and director. According to a statement of information
12   filed on October 9, 2012, Pezeshk was CEO, secretary, CFO, and director.
13               aa.    Valencia Ambulatory Surgery Center, LLC (“VASC”) was
14   organized in California on December 15, 2009 by J. Omidi. According to a
15   statement of information filed on February 25, 2011, Klasky was manager.
16   According to a statement of information filed on October 5, 2012, Pezeshk was
17   CEO and member or manager.
18               bb.    West Hills Surgery, LLC was organized in California on June
19   15, 2010. Weisse was the organizer. According to a statement of information filed
20   on February 11, 2013, Pezeshk was CEO and member or manager.
21               cc.    Cosmopolitan Plastic and Reconstructive Surgery, A Medical
22   Corporation (“Cosmopolitan”), was incorporated in California on February 11,
23   2005. According to statements of information filed on April 27, 2005 and June 8,
24   2010, M. Omidi was CEO, secretary, CFO, and director. According to a statement
25   of information filed on October 9, 2012, Pezeshk was CEO, secretary, CFO, and
26   director.
27               dd.    Beverly Hills Anesthesia, LLC; Beverly Hills Surgery, LLC;
28   Valencia Laboratory, LLC; Valencia Ultrasound, LLC; West Hills Anesthesia,
                                             16
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1    LLC; West Hills Gastroenterology, LLC; West Hills Laboratory, LLC; West Hills
2    Ultrasound, LLC; and West Hills Surgery, LLC were organized in California
3    between June 7 and 15, 2010. The organizer for each was Weisse. According to
4    statements of information filed for these entities with the California Secretary of
5    State between July 9, 2012 and February 21, 2013, Pezeshk was the CEO and
6    manager, or member, for each.
7                 ee.   Patient Advocacy Law Group, A California Public Benefit
8    Corporation, was incorporated in California on November 8, 2010, with Silverman
9    and Edmond DeFrank (“DeFrank”) listed as directors. According to a statement of
10   information filed on September 8, 2011, DeFrank was CEO, secretary, CFO, and
11   director.
12                ff.   Palmdale Ambulatory Surgery Center, A Medical Corporation
13   (“PASC”), was incorporated in California on November 4, 2005. According to a
14   statement of information filed on November 5, 2007, M. Omidi was CEO,
15   secretary, CFO, and director. PASC was converted to an LLC in California on
16   June 20, 2008. The conversion paperwork listed M. Omidi as president and
17   secretary. According to a statement of information filed on February 25, 2011,
18   Klasky was manager.
19                gg.   Valley Surgical Center, Inc. was incorporated in California on
20   July 6, 2006 with M. Omidi listed as the initial director. According to a statement
21   of information filed on June 29, 2007, M. Omidi was CEO, secretary, CFO, and
22   director, with C. Omidi listed as the agent for service of process. A Certificate of
23   Dissolution was filed on May 29, 2009. Valley Surgical Center, LLC (“VSC”)
24   was organized in California on December 15, 2009 by J. Omidi. According to a
25   statement of information filed on February 25, 2011, Klasky was manager.
26   According to a statement of information filed on February 11, 2013, Pezeshk was
27   CEO and member or manager.
28
                                              17
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1                 hh.    1Search1, LLC was organized in California on February 23,
2    2006. According to a statement of information filed on August 31, 2012, Ralph
3    Almeida was member or manager.
4                 ii.    Airuslife, Inc. was incorporated in Nevada on December 16,
5    2010. The Nevada Secretary of State identified DeFrank as secretary and
6    treasurer, and Larry Twersky as president and director as of May 1, 2012.
7                 jj.    VCFB Management, Inc.; WL Medical Solutions, Inc.; Call Us
8    Now, Inc.; Capital Market Solutions, Inc.; ASC Capital Management, Inc.; and
9    Hospital and ASC Management Services, Inc. were incorporated in Nevada on
10   December 16, 2010. The Nevada Secretary of State identified Klasky as president,
11   secretary, treasurer, and director of each entity.4
12                kk.    CIEL Promotions, Inc. and ASC Advertising and Marketing,
13   Inc. were incorporated in Wyoming on December 23, 2010.
14                ll.    Search Engine Placement Labs, LLC was organized in
15   California on March 29, 2006, with DeFrank as the organizer. According to a
16   statement of information filed on August 14, 2006, DeFrank was the CEO and
17   Mark Capuano was a manager or member. According to a statement of
18   information filed on November 15, 2010, Klasky was manager.
19                mm. Medical Payment Processing, LLC was organized in California
20   on August 4, 2010. Weisse was the organizer. According to a statement of
21   information filed on July 9, 2012, Pezeshk was CEO and manager or member.
22                nn.    Pacific West Dermatology, A Medical Corporation, was
23   incorporated in California on April 2, 2001. According to a statement of
24   information filed on July 31, 2006, J. Omidi was president, secretary, CFO, and
25         4
             VCFB Management, Inc. filed a “Statement and Designation by Foreign
26   Corporation” with the California Secretary of State on September 19, 2011. It also
27   filed “Articles of Incorporation with Statement of Conversion” with the California
     Secretary of State on May 6, 2013, converting it to a California Corporation. No
28   statement of information was filed in California as of October 25, 2013.
                                                18
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 1   director. According to a statement of information filed on March 5, 2008, M.
 2   Omidi was president, secretary, CFO, and director. The corporation was dissolved
 3   on October 16, 2008 by J. Omidi as president, secretary, and treasurer. Pacific
 4   West Dermatology, LLC was organized in California on March 1, 2010.
 5   According to a statement of information filed on February 25, 2011, Klasky was
 6   manager.
 7                oo.   OCM 26, LLC was organized in Nevada on January 15, 2010.
 8   The Nevada Secretary of State website listed William Granich as the managing
 9   member, but earlier Nevada Secretary of State documents list J. Omidi as
10   managing member.
11                pp.   FJKJ, LLC was organized in California on April 30, 2010. The
12   organizer was Weisse. No statement of information was filed with the California
13   Secretary of State as of October 24, 2013.
14                qq.   Beverly Hills Estate, LLC was organized in California on April
15   14, 2011. According to a statement of information filed on November 26, 2012, C.
16   Omidi was CEO and manager or member.
17                rr.   Summit Circle Properties, LLC was organized in California on
18   March 29, 2011. The organizer was Weisse. No statement of information was
19   filed with the California Secretary of State as of October 25, 2013.
20 III.    OVERVIEW
21         A.     Lap-Band Surgery and Bariatric Coverage
22         7.     Lap-Band surgery5 (a type of bariatric surgery) was an elective
23   weight-loss procedure that employed the Lap-Band, a restricted device,
24   manufactured by Allergan, Inc. through 2013, when it sold that line of business to
25         5
             The introduction of a Lap-Band device into a patient required actual
26   surgery. Unless indicated otherwise, references to a Lap-Band “surgery” refer to
27   the surgery itself. References to the Lap-Band “procedure” include surgery and the
     various pre- and post-operative processes associated with or in preparation for the
28   actual surgery.
                                              19
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1    another company. Both the Lap-Band device and the surgical procedure in which it
2    was employed were regulated by the United States Food and Drug Administration
3    (“FDA”).
4          8.     Lap-Band surgery was intended for morbidly obese adult patients who
5    met specific criteria based on their body mass index (“BMI”), had failed more
6    conservative weight-reduction alternatives, and were committed to making various
7    permanent changes in their eating habits.
8          9.     If a patient had bariatric coverage through his or her health insurance,
9    the insurer typically required that the Lap-Band surgery be pre-approved by the
10   insurer before a provider could bill and obtain payment for the surgery and related
11   pre and post-operative services and procedures. A patient with bariatric coverage
12   generally would be pre-approved and the Lap-Band surgery deemed medically
13   necessary only if, among other requirements, the patient either had a BMI of 40; or
14   more, or a BMI of 35 or more and at least one co-morbidity, such as obstructive
15   sleep apnea (“OSA”), typically diagnosed through a sleep study.
16         10.    In order to obtain pre-approval for Lap-Band surgery, the medical
17   provider typically submitted a pre-authorization request (also known as a letter of
18   medical necessity or “LOMN”) that purported to establish the justification for the
19   Lap-Band procedure with documentation showing that the patient was morbidly
20   obese and met all of the additional qualifications of the particular plan, including
21   documentation of any co-morbidity.
22         11.    Beginning in 2008, and lasting until an unknown date, but at least
23   until approximately March 2016, the Omidis, the GET THIN entities, and others
24   participated in a scheme to defraud health insurance plans, patients and the FDA
25   through the network of GET THIN entities. GET THIN, as defined in paragraph 6
26   above, used misleading advertising to solicit patients for Lap-Band surgery and
27   then operated as an insurance billing mill, with fraudulent conduct at virtually
28   every step along the way, knowingly and with intent to defraud, devising,
                                               20
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1    participating in and executing a scheme to defraud TRICARE6 and numerous
2    insurance companies7 as to material matters, and to obtain money and property
3    from the Insurance Companies by means of material false and fraudulent pretenses,
4    representations, and promises, and the concealment of material facts, resulting in
5    substantial losses to the Insurance Companies.8 The fraudulent scheme was
6    executed through the use of the mails and interstate wire communications,
7    including email. In addition to affirmative misrepresentations, the Omidis, the
8    GET THIN entities and others knowingly violated their duties to disclose material
9    facts to the Insurance Companies and others, by omitting those facts in
10   communications with the Insurance Companies and others. These actions were in
11   violation of Title 18, United States Code, Sections 1035 (false statements relating
12   to healthcare matters); 1341 (mail fraud); 1343 (wire fraud); 1347 (healthcare
13   fraud); and 1349 (conspiracy to commit health care fraud). The scheme ultimately
14   generated hundreds of millions of dollars in revenue, most of which was then
15   laundered through financial transactions designed to conceal the nature, location,
16   source, ownership, or control of the proceeds of the fraud, and/or promote the
17   underlying illegal conduct in violation of Title 18, United States Code, Sections
18   1956 and 1957, as explained more specifically below.
19
           6
20           “TRICARE” is a federally-funded health care benefit program that
21   provides coverage for active-duty, retired and reserve members of the United
     States military, and certain other individuals.
22
           7
             The private insurers defrauded as a result of the scheme described herein
23
     included, but were not limited to, Anthem Blue Cross, UnitedHealthcare
24   (“United”), Aetna, CIGNA, Health Net, Operating Engineers Health & Welfare
25   Fund, Blue Shield of California, Government Employee’s Health Association, Inc.
     (“GEHA”), and others. The private insurers and TRICARE are referred to
26   collectively herein as the “Insurance Companies.”
27         8
            The Insurance Companies were, at all relevant times, health care benefit
28   programs within the meaning of 18 U.S.C. §24(b).
                                              21
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1          12.     While the scheme changed over time, it generally involved the
2    following elements:
3                  a.    Creation of Hundreds of Entities to Facilitate the Scheme.
4    The Omidis and their associates, including Silverman, Weisse, and Pezeshk,
5    among others, created hundreds of entities and business names (dbas) with a
6    variety of addresses, including many commercial mail receiving agencies
7    (“CMRAs”) such as UPS Stores. This helped GET THIN hide the fact that one
8    enterprise was submitting hundreds of millions of dollars worth of Lap-Band
9    related medical claims to insurers, and to facilitate the downstream transfer of
10   funds among the GET THIN entities, for the purpose of making it difficult to trace
11   the disposition of payments received.
12                 b.    Concealment of the Omidis’ Common Ownership and
13   Control of the GET THIN Entities. Starting in about 2010, the Omidis titled
14   their entities in nominee names and took other actions to mislead the FDA,
15   insurance companies, and others regarding the common ownership and control of
16   the GET THIN entities and the Omidis’ common control of the overall GET THIN
17   enterprise.
18                 c.    Misleading Advertising. Until early 2012, GET THIN lured
19   patients through a barrage of advertising, including billboards, radio, and print
20   media, that were affirmatively misleading and/or failed to adequately warn patients
21   of the dangers involved in the Lap-Band procedure. The ads typically directed
22   patients to call “1-800-GET-THIN” or “1-800-GET-SLIM,” or to access a website
23   that was part of GET THIN.
24                 d.    Call Center. Callers who dialed either of the above numbers
25   were routed to GET THIN’s “Call Center,” essentially a boiler room where
26   employees were paid commissions based on the number of patients they induced to
27   attend what were purported to be “free” seminars and undergo GET THIN medical
28   procedures, including the Lap-Band procedure. Call Center employees were
                                              22
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1    provided with scripts intended to induce patients to attend the seminars by
2    representing that they were free, but failed to disclose the fact that attendance at the
3    seminar likely would result in billing for a medical “consultation” to the patient’s
4    insurance provider as a physician office visit.
5                 e.     Misrepresentations Regarding Coverage and Insurance
6    Requirements. GET THIN frequently misled patients into believing their
7    insurance covered the Lap-Band procedure when it did not, and falsely told
8    patients that their insurance required them to undergo various medical procedures
9    in order to be eligible to receive the surgery. This resulted in patients whose
10   insurance did not include coverage for Lap-Band surgery (or who did not qualify
11   for such coverage) undergoing expensive “pre-operative” procedures that they
12   would not have undergone if not for the misrepresentations. Those unnecessary or
13   unwanted procedures resulted in billings by GET THIN to insurers and patients,
14   and payments in satisfaction of those billings, which were sent through the mails
15   and over interstate wire media. These misrepresentations were material, and were
16   relied upon by the insurers in making determinations whether to pay on claims
17   submitted by GET THIN.
18                f.     Routine Waiver of Co-Payments.9 GET THIN routinely
19   induced patients to undergo procedures, usually characterized as pre-operative or
20   necessary for preauthorization for a separate procedure or surgery, by offering to
21   waive co-payments in their entirety or leading patients to believe that the
22   procedures would cost them little or nothing. Co-payments are material
23   requirements for insurers, and these inducements typically negate the obligation of
24   the insurance plans to pay for such services, obligating the patients to pay the
25   entire cost. In addition, by offering such inducements, GET THIN was
26
           9
27           A “co-payment” is a payment required of an insured person for that portion
     of medical expenses not paid by the insurer. In some cases, it is a fixed fee (e.g.,
28   for a doctor visit or prescription).
                                               23
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1    misrepresenting its actual rates when billing insurers, which the insurers also
2    consider material.
3                 g.      Misrepresentations and Omissions Resulting in Insurance
4    Pre-Authorizations for Lap-Band Surgeries. GET THIN routinely obtained pre-
5    authorization for Lap-Band surgery from insurers, giving GET THIN the ability to
6    bill for and obtain payment for surgery and related pre-operative and post-
7    operative services and procedures by knowingly and intentionally using “cookie
8    cutter” templates that were not based on the individual patients and otherwise
9    included misrepresentations concerning the satisfaction of preconditions required
10   for such authorizations. These misrepresentations were material, and were relied
11   upon by the insurers in making determinations whether to pay on claims submitted
12   by GET THIN.
13                h.      Misrepresentations to Insurers Concerning Pre-Operative
14   Procedures. GET THIN billed pre-operative procedures to the insurers of patients
15   using diagnostic codes that concealed the fact that the patients were undergoing the
16   procedures as a precursor to Lap-Band surgery to treat obesity. These
17   misrepresentations were material, and were relied upon by the insurers in making
18   determinations whether to pay on claims submitted by GET THIN.
19                i.      False Billing for Sleep Studies. GET THIN routinely
20   performed sleep study tests on patients who were seeking Lap-Band surgery
21   knowing that (1) the patient’s insurance did not cover Lap-Band surgery; or (2) the
22   patient qualified for Lap-Band surgery without a sleep study. In addition,
23   beginning in 2010, GET THIN began billing insurance companies for facility fees
24   for use of the MIPS -- an ambulatory surgery center in Beverly Hills, California --
25   for sleep studies when in fact no sleep studies were performed there. These
26   misrepresentations were material, and were relied upon by the insurers in making
27   determinations whether to pay on claims submitted by GET THIN.
28
                                              24
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1                 j.     False Billing for Nutritional and Psychological Services. In
2    some cases, GET THIN submitted to insurers false claims for reimbursement for
3    nutritional counseling, psychological counseling, or psychological testing services
4    that either were not provided or were not provided as represented in the claims.
5    These misrepresentations were material, and were relied upon by the insurers in
6    making determinations whether to pay on claims submitted by GET THIN.
7                 k.     Money Laundering. Payments from insurance companies that
8    represented the proceeds of the fraud scheme described herein were deposited into
9    accounts controlled by the Omidis, as defined above in paragraph 6, and then
10   moved among numerous accounts, both to promote the fraudulent enterprise and to
11   conceal the nature, source, location, ownership and control of the proceeds of the
12   scheme. In many cases, checks payable to one GET THIN entity were deposited
13   directly into the account of another. After the initial deposit into an account, the
14   funds would be repeatedly transferred among different accounts with no apparent
15   business purpose, a practice known as “layering” that makes it difficult to trace
16   funds to their true source. Some of the funds were transferred into accounts that
17   GET THIN used to pay expenses, such as payroll, that promoted the enterprise.
18   Other funds were ultimately transferred directly into a series of offshore trusts for
19   the benefit of the Omidis and an offshore insurance company established by C.
20   Omidi, or used to invest in securities held by those trusts, including the defendant
21   DB Assets. All of the defendant assets were involved in one or more of these
22   money laundering transactions.
23         13.    While GET THIN was permeated with fraud, as explained herein,
24   some of the monies it collected or manipulated during the course of the scheme
25   may not have constituted fraud proceeds. However, tainted and untainted funds
26   were intentionally commingled by the Omidis without regard to the actual or
27   potential legitimacy of the source. The banking practices of the GET THIN
28   entities and the Omidis were typical of money laundering activity, that is, they
                                               25
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1    were practices by which proceeds of criminal activity are commonly manipulated
2    to conceal or disguise the nature, source, location, control or ownership of such
3    proceeds, or to promote further criminal activity.
4          B.     Some of The Insurers Detect The Fraudulent Scheme
5          14.    By 2010 or early 2011, insurers had identified various GET THIN
6    entities as sources of aberrant billing patterns and suspect practices. For example,
7                 a.     in 2011, Anthem Blue Cross stopped paying 36 GET THIN
8    entities after concluding that the entities were performing physician services as
9    LLC corporations, which is not legally allowed because physician services can
10   only be performed under a professional corporation under California law.
11                b.     in February 2011, United placed GET THIN providers on pre-
12   payment review and thereafter denied claims for which GET THIN failed to
13   provide adequate supporting documentation.
14                      i.     On March 20, 2014, numerous GET THIN entities
15   (including Almont Ambulatory Surgery Center, LLC, Bakersfield Surgery
16   Institute, LLC, CIRO Surgery Center, LLC, East Bay Ambulatory Surgery Center,
17   LLC, MIPS, New Life Surgery Center, LLC, dba Beverly Hills Surgery Center,
18   Orange Grove Surgery Center, LLC, Palmdale Surgery Center, LLC, San Diego
19   Ambulatory Surgery Center, LLC, San Joaquin Valley Surgery Center, LLC, Skin
20   Cancer & Reconstructive Surgery Specialists of Beverly Hills, Inc., VASC, West
21   Hills Surgery Center, LLC, and IMS) filed a federal civil action against United,
22   several hundred employer sponsored health care plans administered by United, and
23   the respective employers, alleging that the defendants had wrongfully refused to
24   pay GET THIN for Lap-Band procedures and other services. Almont Ambulatory
25   Surgery Center LLC, et al. v. UnitedHealth Group, Inc., et al., CV 14-2139-MWF-
26   VBKx (“Almont I”).
27                     ii.     The complaint describes the plaintiffs as “a network of
28   health providers that specialize in providing laparoscopic adjustable gastric band
                                              26
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1    (“Lap-Band”) surgery and other surgical procedures and medical services to
2    individuals who are morbidly obese,” and alleges that each of the surgery centers
3    “operate[d] an ambulatory surgery center in Beverly Hills, California.”
4                         iii.    The complaint further alleges that since 2010, plaintiffs
5    had helped thousands of morbidly obese individuals to undergo Lap-Band surgery
6    as well as other medical procedures, and estimated that roughly 90% of their
7    patients were morbidly obese.
8                         iv.     The complaint further alleges that United was the single
9    largest payor for plaintiffs and owed them “hundreds of millions of dollars,” and
10   that since 2010, United systematically and improperly withheld payments from
11   plaintiffs.10
12                         v.     On March 21, 2014, all but two of the same GET THIN
13   plaintiffs filed a complaint in California state court against United, using the same
14   language to describe themselves. That complaint also alleged that United had
15   wrongfully refused to pay the GET THIN plaintiffs for Lap Band procedures and
16   other services.
17                        vi.     United removed the March 2014 state case to federal
18   court on April 21, 2014, and filed a counterclaim against the GET THIN entities,
19   alleging that J. Omidi, M. Omidi, and GET THIN illegally conspired to (a) induce
20   patients to obtain medical services by promising to waive co-payments and other
21   patient financial obligations; and (b) submit fraudulent claims to induce United to
22   pay for services that were not covered by insurance. Almont Ambulatory Surgery
23   Center LLC, et al. v. UnitedHealth Group, Inc., et al., CV 14-3053-MWF-VBK
24   (“Almont II”).
25                   c.      Aetna began to investigate GET THIN in May 2009 after
26   receiving a referral from the California Department of Insurance alleging that Top
27          10
              The plaintiffs in Almont v. United Health Group received at least $141.7
28   million in insurance income during the time period 2008-2012.
                                                 27
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1    Surgeons was rendering cosmetic surgery to members and billing it as medically
2    necessary. In January 2010, Aetna determined that information provided to it by
3    GET THIN in pre-certification (i.e., pre-approval) materials was inaccurate and
4    appeared templated. Verification letters were distributed to members, and their
5    responses confirmed that the information provided to Aetna by GET THIN was not
6    accurate. Based on the responses, Aetna determined that the pre-certification
7    criteria were not met, and placed the GET THIN entities on pre-payment review.
8                 d.     In early 2010, TRICARE identified aberrant professional and
9    facility billing patterns, as well as questionable medical and billing practices that
10   warranted further review, placed GET THIN on pre-payment review, and
11   eventually stopped paying claims from known GET THIN entities.
12                e.     On April 14, 2014, CIGNA began to review claims from
13   Almont Surgery Center after having received information that Almont was
14   charging exorbitant sums for Lap-Band surgery. A review of claims forms
15   confirmed a pattern of high-cost Lap-Band procedures and EGDs. In response to
16   CIGNA requests for patient notes, GET THIN provided “cookie cutter” notes and
17   documentation that did not support the claims submitted (such as claims for sleep
18   studies where the notes on the patient’s history contained no reference to sleep
19   problems). Based on this review, CIGNA began denying claims based on a lack of
20   pre-certification and, later, on a lack of supporting documentation.
21                f.     Health Net conducted an investigative audit on GET THIN
22   claims submitted between January 1, 2009 and March 24, 2011 that resulted in
23   Health Net withholding payment on all claims submitted by specified GET THIN
24   providers and demanding repayment of certain claims. Health Net also submitted a
25   suspected fraud claim form to the California Department of Insurance, and a
26   complaint to the California Board of Medicine.
27   ///
28   ///
                                               28
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1            C.    Centralized Ownership And Control Of Get Thin
2                  1.    The Omidis’ control of GET THIN and its finances
3            15.   J. Omidi and M. Omidi were in charge of GET THIN operations, and
4    made final decisions on important matters, including hiring, firing, advertisements,
5    purchases, billing and procedures.
6            16.   Below is an overview of Omidi-controlled accounts at WFB, where
7    GET THIN maintained accounts until March 2012.
8                  a.    There were more than 150 Omidi-controlled WFB bank
9    accounts (in addition to credit cards, loans, and merchant accounts).
10                 b.    More than 140 of the accounts were under the signature
11   authority of one or more of J. Omidi, M. Omidi, or C. Omidi.
12                 c.    Eighteen of these Wells Fargo accounts had over $220 million
13   in Insurance payments. The total amount of inbound transactions for these 18
14   Omidi-controlled accounts (including numerous transfers amongst the accounts)
15   exceeded $300 million during the period between January 2008 and December
16   2013.
17                 d.    Of these 18 Wells Fargo accounts, seven had over $1 million in
18   deposit/transfer activity during the period between January 2008 and December
19   2013. Of these, 11 accounts had over $10 million in payments from insurance
20   companies between January 2008 and March 2012.
21                 e.    Analysis of more than 60 Omidi-controlled accounts at WFB
22   that received deposits paid by insurance companies showed that these accounts
23   received a total of more than $220 million in payments from insurance companies
24   between January 2008 and March 2012.
25           17.   Numerous GET THIN entities also held bank accounts at Chase
26   between 2010 and 2012.
27                 a.    J. Omidi was the signatory on the accounts for eight GET THIN
28   entities at Chase, and was listed as the “Secretary” for all of those entities.
                                                29
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1                 b.     As of December 22, 2010, numerous GET THIN entities gave
2    269 S Beverly Dr., Suite 1409, Beverly Hills, 90212 as the mailing address. The
3    “suite” is really a postal box at the same CMRA as was used for numerous GET
4    THIN entities, including MIPS, on GET THIN insurance claims.
5                 c.     GSPM listed C. Omidi and Pezeshk as signatories on its three
6    accounts.
7          18.    C. Omidi conducted much of the GET THIN banking online, but also
8    engaged in numerous transactions in person. C. Omidi visited one particular WFB
9    branch 2 to 3 times per week. She also visited bank branches to open accounts,
10   and made numerous in-person deposits. C. Omidi was familiar with the Omidi-
11   controlled accounts maintained at WFB to the degree that she had memorized the
12   account numbers.
13                2.     The Omidis and GET THIN employees, agents and attorneys
14                       acted as officers or members of GET THIN entities
15         19.    The investigation revealed the existence of more than 200 Omidi-
16   controlled entities and business name (dbas), identified through bank records,
17   corporate filings, common addresses and financial transactions.
18         20.    Prior to 2010, one or more of the Omidis was typically listed on
19   corporate paperwork relating to GET THIN entities. Thereafter, their names were
20   rarely included on such paperwork, having been replaced with names of
21   individuals affiliated with or employed by them. For example, beginning in or
22   about 2012, Pezeshk was listed as a member or officer of approximately 40 GET
23   THIN entities. Beginning in approximately 2011, Klasky was listed as the CEO,
24   CFO, an officer and/or manager of approximately 20 GET THIN entities. Ara
25   Salazar (“Salazar”) was listed as the Administrator of approximately 28 GET
26   THIN entities. Weisse filed incorporation documents for dozens of “Four Letter”
27   corporations (discussed below) in or about 2011. At the time of formation, most of
28   these entities did not identify any shareholders or officers, and listed an address
                                               30
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1    associated with Weisse as their mailing address. Beginning in May 2012, one
2    doctor, Alpert, was listed as the CEO, Director, Secretary, and/or other officer of
3    over 70 “Four Letter” professional corporations. Silverman was listed as the
4    “Organizer” for 1-800-GET-THIN, LLC and the “Incorporator” for IMS.
5          D.     Concealment Of Ownership And Efforts To Avoid Scrutiny
6                 1.     Formation of additional entities
7          21.    The transition to entities held in names of Omidi associates and
8    employees rather than the Omidis themselves was accompanied by an increase in
9    the number of entities created. For example, Beverly Hills Surgery Center, LLC
10   was formed in mid-2009. At that time, J. Omidi was identified as the CEO and C.
11   Omidi as manager or member of the entity. About one year later, in mid-2010,
12   five “Beverly Hills” LLC entities were created: Beverly Hills Anesthesia, Beverly
13   Hills Gastroenterology, Beverly Hills Laboratory, Beverly Hills Surgery, and
14   Beverly Hills Ultrasound. Weisse was listed as the organizer of all five. No
15   statement of information was initially filed for any of the new entities. In July
16   2012, Pezeshk was named as the CEO and member of three of the five, and a
17   fourth in February 2013.
18                2.     The “Four Letter” corporations
19         22.    In approximately May 2011, M. OMIDI caused the creation of
20   numerous professional corporations referred to her ein as “Four Letter”
21   corporations, so named because the name of each corporation consisted of four
22   letters – specifically, the first two letters of each of a person’s first and last name,
23   usually of a doctor. So, for example, the Four Letter corporation for Dr. Martin
24   Flynn (“Flynn”) was “MAFL.” The Four Letter corporations were created by the
25   Omidis (or at their direction) as a billing vehicle so that work being billed by GET
26   THIN to the insurers was more difficult to identify as being billed by a GET THIN
27   entity, which allowed GET THIN to avoid heightened scrutiny by the insurers.
28   The Four Letter corporations, using the initials of doctors performing services on
                                                31
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1    behalf of GET THIN (and sometimes created without the knowledge of the doctors
2    whose initials were the basis for the names of the corporations) created the false
3    impression that each Four Letter corporation was the professional practice
4    corporation of the physician or other medical professional whose name was used to
5    formulate the name of the corporation.
6          23.    By the time the Four Letter corporations were formed in May of 2011,
7    various insurance providers, including TRICARE and Health Net, had already
8    started questioning and rejecting claims submitted by known GET THIN entities.
9          24.    More than 50 of the Four Letter corporations obtained a National Plan
10   and Provider Enumeration System number, a unique 10-digit number for
11   healthcare providers used to identify them. These Four Letter corporations listed
12   their respective provider business mailing address as 8581 Santa Monica
13   Boulevard, with a box number as part of the address. For example, MAFL
14   Medical, Inc. listed box #922; MAPE Medical, Inc. listed box #943; and MIOM
15   Medical, Inc. listed box #991. Each of these Four Letter corporations also listed
16   the same provider mailing address (9001 Wilshire Boulevard, Suite 106, Beverly
17   Hills, California).
18         25.    Flynn was a doctor who worked for GET THIN. On or about May 25,
19   2011, Weisse emailed Flynn and other doctors informing them that “individual
20   corporations have been created on [their] behalf” and seeking permission “to
21   utilize [their] social security number in order to obtain governmental approval
22   required to allow for these corporations to bill for [their] services.” Flynn replied,
23   advising Weisse: “… I DO NOT approve the sort of undertaking you suggest to
24   take place, whether using my name or Social Security number.” Flynn was later
25   told by DeFrank, a GET THIN attorney, that IMS, the entity with which the
26   physicians were under contract at that time, had been “red-flagged by some of the
27   insurers,” that “no one’s billing slips were being paid due to a single MD’s
28   billing,” and that the new Four Letter professional corporations would “separate”
                                               32
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1    Flynn so that he would not get “red flagged” and carry “that scarlet letter” with
2    him.
3           26.   Billings by the Four Letter corporations (and payments received in
4    response to those billings) were not necessarily consistent. For example, eight
5    checks issued by three insurance companies between October 26, 2011 and
6    January 12, 2012, show the following with respect to Dr. Flynn.
7                 a.    Two of the eight checks were made payable to “Martin E.
8    Flynn, MD.” Those checks bear handwritten notes that appear to have been
9    written before the checks were deposited into a GET THIN WFB account, that
10   contain the letters “MAFL”;
11                b.    Two were made payable to “Flynn, Martin E.”;
12                c.    Two were made payable to “MAFL MED INC”; and
13                d.    Two were made payable to “MAFL MEDICAL INC.”
14   Seven of the eight checks include at least a portion of the address 8581 Santa
15   Monica Boulevard (one does not contain any address listing). Five of the checks
16   were deposited into WFB 3362, held in the name of IMS, which lists the address
17   269 S. Beverly Drive, Suite 353, Beverly Hills, California. Two of the checks
18   were deposited into WFB 0200, held in the name of Medical Payment Processing,
19   LLC, which lists the address of 8721 Santa Monica Boulevard, Suite 122, West
20   Hollywood, California. One check was deposited into WFB 0908, held in the
21   name of Golden State Practice Management, LLC, which lists the address 9107
22   Wilshire Boulevard, Suite 150, Beverly Hills, California. The signature card for
23   WFB 3362, dated July 7, 2011, lists the authorized signer as Cindy N. Omidi. The
24   signature card for WFB 0200, dated March 25, 2011, lists the authorized signers as
25   Cindy N. Omidi, Maziar Michael Omidi and Julian C. Omidi. The signature card
26   for WFB 0908, dated February 3, 2012, lists the signer as Pezeshk. The eight
27   checks totaled $111,606.78.
28
                                              33
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1          27.    Sometime before July 2011, Weisse approached Dr. Atul Madan
2    (“Madan”), a doctor who also provided services on behalf of GET THIN, about
3    creating a corporation using his name. Madan was told that GET THIN wanted to
4    create the separate corporations so they could split up the billing. That way, if
5    there were questions regarding one doctor’s billing, the insurance companies
6    would not automatically review everyone’s billing. Tax liability for the separate
7    corporation was to be assumed by IMS. Madan initially signed the contract but
8    then subsequently terminated his concurrence.
9          28.    Madan did not know what GET THIN planned on naming the
10   corporation until around October 2011, when he saw “ATMA” on a patient’s
11   explanation of benefits form for Madan’s services. Madan called Silverman, who
12   told Madan that a corporation had been created, but it was not Madan’s
13   corporation. Silverman said he could use any name he wanted when creating a
14   corporation and that since Madan was not listed as the owner of the corporation, it
15   should not matter to Madan.
16         29.    Claims data for the Insurance Companies show that $28 million in
17   claims were submitted in the names of the Four Letter corporations, and $2.4
18   million was paid on those claims.
19         30.    The use of this many CMRAs by a group of affiliated entities is
20   highly suspicious. Large businesses with staffed offices generally receive mail at
21   their offices, as that is both convenient and free. The use of multiple CMRAs
22   requires the recipient to pay for the rental of the boxes, and pick up mail at
23   multiple locations. GET THIN’S use of CMRAs was a tactic used to create a
24   misleading appearance of independent entities in order to conceal from insurers,
25   and others the common ownership of and control over the GET THIN entities, and
26   the volume of their activity.
27   ///
28   ///
                                               34
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1                 3.     Further efforts to disguise the Omidi’s ownership and control of
2                        GET THIN
3          31.    The Omidis took other affirmative steps to hide their ownership and
4    control of GET THIN, especially after negative media coverage or the initiation of
5    lawsuits against the entities. GET THIN employees were instructed to tell people
6    outside of the enterprise that the Omidis did not work there. Employees were also
7    told (falsely) that the Omidis did not own anything and were not tied to any
8    companies.
9          32.    A “Joint Manager/Consultant Meeting Agenda” dated January 4, 2011
10   includes a “reminder” on the agenda that
11         Dr. Michael and Julian are consultants. Dr. Julian is a consultant for
12         our marketing department. Dr. Michael is a practicing physician and
13         is part of our medical staff. They do not have any financial interest in
14         the company. They do not participate in any decision making of the
15         company.
16   These statements were false.
17         33.    A September 27, 2011 email from Macatangay directed to over
18   30 individuals (including Salazar, Klasky and Abaca), referenced a Los
19   Angeles Times article about the death of a GET THIN patient as “another
20   hate article,” and stated that:
21         It is now important that we, as a unified organization, set the record
22         straight every time we can. The following need to be emphasized to
23         every member of your team so they, in turn, can inform the public
24         whenever they can: . . .
25         5. 1-800-GET-THIN does not refer patients including this one to our
26         surgery center.
27         6. There is no such “joint venture” that includes the surgery centers
28         and the 1-800-GET-THIN marketing firm, as mentioned in the article!
                                              35
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1          7. Dr. Michael OMIDI & Julian OMIDI are not involved in any
2          “joint venture” as alleged in the article. . .
3    These statements were false.
4 IV.          THE DEFENDANT FUNDS AND SECURITIES
5          A.     Summary of Get Thin Insurance Claims and Payments Made On
6                 Those Claims
7          34.    According to Claims data for GET THIN provided by Anthem Blue
8    Cross,11 Aetna, United, CIGNA, Health Net, and TRICARE prior to June 2014,
9    for the periods specified below (“claims data”):
10                a.     GET THIN billed Anthem Blue Cross approximately $503
11   million for services allegedly provided between January 2008 and December 2011
12   to approximately 7,400 patients. Anthem Blue Cross paid approximately $80
13   million on those claims.
14                b.     GET THIN billed Aetna approximately $168 million for
15   services allegedly provided between January 2008 and June 2013 to approximately
16   2,200 patients. Aetna paid approximately $54 million on those claims.
17                c.     GET THIN billed United at least approximately $119 million
18   for services allegedly provided between January 2008 and August 2011 to
19   approximately 1,700 patients. United paid approximately $35 million on those
20   claims.
21                d.     GET THIN billed CIGNA approximately $41 million for
22   services allegedly provided between February 2008 and August 2012 to
23   approximately 800 patients. CIGNA paid almost approximately $9 million on
24   those claims.
25                e.     GET THIN billed Health Net approximately $22 million for
26   services allegedly provided between January 2008 and February 2012 to
27         11
             Anthem Blue Cross data includes data for some other Blue Cross/Blue
28   Shield programs.
                                                36
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1    approximately 300 patients. Health Net paid approximately $3 million on those
2    claims.
3                 f.     GET THIN billed TRICARE approximately $67 million for
4    services allegedly provided between January 2008 and November 2013 to
5    approximately 700 patients. TRICARE paid approximately $2 million on those
6    claims.
7                 g.     In total, during the specified time frames, GET THIN billed
8    these six insurance providers more than $900 million for services allegedly
9    provided to at least 13,500 patients, and these six providers paid $183 million on
10   those claims. Within these totals, amounts billed and paid for the categories of
11   service specified below12 were:
12
                       Category of Service                   $$ Billed      $$ Paid
13
14     Lap-Band surgery                                        $169.5M         $54.6M
15
       Lap-Band adjustments                                     $70.5M          $9.2M
16
17     Lap-Band removals                                         $1.6M             $.2M
18     EGDs                                                     $94.5M         $17.7M
19
       Anesthesia                                               $90.8M         $14.7M
20
21     Sleep studies                                            $36.6M          $7.3M
22
       Physician office visits                                  $16.4M          $2.2M
23
24
25         12
               The specific category amounts at the top of the chart do not include
26   facility fees for Anthem and CIGNA because the facility claims data those
27   companies provided did not include CPT codes, which were used for the amounts
     set forth in the chart. Anthem and CIGNA facility fees for the diagnosis code
28   278.01 “morbid obesity” are included separately at the bottom of the chart.
                                              37
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1      Physician office consultations                               $6.2M             $.9M

2      Psychological evaluations and testing                        $2.8M             $.2M
3
       Nutritional consultations                                     $.6M             $.07M
4
5      Anthem Blue Cross Morbid Obesity Facility Fees              $65.5M         $22.7M
6
       CIGNA Morbid Obesity Facility Fees                          $10.3M             $2.1M
7
8      Totals                                                    $565.3M       $131.87M
9
10                h.     GET THIN also billed and received payments for medical
11   services from other insurance companies, patients, and patients’ employers.
12         B.     The Manipulation of GET THIN Funds
13                1.     The WFB accounts
14         35.    Plaintiff alleges that the entirety of the defendant funds either
15   represent or are traceable to proceeds of the fraud scheme described herein (that is,
16   they represent or are traceable to proceeds of mail fraud, wire fraud, and/or health
17   care fraud), were involved in one or more money laundering transactions, or both.
18         36.    Over the course of the scheme, GET THIN fraudulently billed the
19   Insurance Companies, patients, health plans and other health care providers for
20   services that were either not rendered at all, not rendered in a manner that made
21   them eligible for coverage or reimbursement, or were otherwise improper.
22   Payments made in response to those fraudulent billings were deposited into GET
23   THIN accounts (meaning accounts held in the name of a GET THIN principal or
24   entity, or an account otherwise controlled by the Omidis). The funds were then
25   often transferred among dozens of other GET THIN accounts controlled by the
26   Omidis or others working on their behalf, including lawyers.
27         37.    Money laundering is the process of making illegally-gained proceeds
28   (i.e., “dirty money”) appear legal (i.e., “clean”). Typically, it involves three steps:
                                               38
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1    placement, layering and integration. In the placement stage, illegitimate funds are
2    introduced into the legitimate financial system, usually by deposit into one or more
3    bank accounts. In the layering stage, the money is moved around amongst
4    accounts at one or more financial institutions to create confusion about the nature,
5    source, location, ownership or control of the funds. The layering stage may be
6    accomplished through wire transfers (intra-bank or inter-bank), cash withdrawals
7    and deposits, or the use of checks. Typically, the money is filtered through
8    accounts in different names (of entities and/or natural persons) that are controlled
9    by the launderer(s). In the integration stage, the money is filtered into the financial
10   system through additional transactions until the tainted money appears legitimate.
11   It is common for launderers of criminal proceeds to engage in a series of financial
12   transactions among bank accounts in the names of separate but related corporate
13   entities for no apparent business purpose, as occurred here.
14          38.   After the fraudulently obtained insurance payments were deposited
15   into and layered through Omidi-controlled accounts, sometimes at more than one
16   bank, they were transferred into the accounts listed in paragraph 5, among others.
17   To the extent that any of the funds and securities listed in paragraph 5 (that is, the
18   defendant funds and securities) do not represent or are not directly traceable to
19   proceeds of the criminal violations described herein, those funds were intermingled
20   with the tainted funds with the intent to conceal or disguise the nature, source,
21   location, ownership or control of the tainted funds, or to promote additional illegal
22   activity.
23          39.   During that period, more than $220 million in insurance payments
24   were deposited into 18 Omidi-controlled accounts at WFB. These 18 accounts
25   were among the more than 150 Omidi-controlled accounts at WFB, more than 140
26   of which were under the signature authority of either C. Omidi, J. Omidi, or M.
27   Omidi, and more than 60 of which are believed to have received deposits directly
28   of insurance payments related to the GET THIN entities. As noted above and
                                               39
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1    below, the total amount of inbound transactions for 18 linked WFB accounts,
2    including transfers amongst the accounts, exceeded $400 million.
3          40.    The 18 Omidi-controlled accounts referenced above were funded with
4    substantial deposits of checks issued by insurance companies for medical services.
5    In many instances, the payee on a deposited check was different than the name of
6    the account holder listed on the account.
7          41.    The movement of funds amongst and between the 18 Omidi-
8    controlled accounts at WFB was byzantine and lacking in any discernible purpose
9    other than the obfuscation of the nature, source, location, control and ownership of
10   the money. Moreover, the names on the Omidi-controlled accounts offer no
11   obvious explanation as to the purpose of the transfers, and the sheer number of
12   accounts has no apparent legitimate purpose. There is no discernible pattern of
13   money flowing into or out of certain accounts for any identifiable reason. Indeed,
14   the analysis demonstrates that the money flow was seemingly random – money
15   often left an account only to be transferred back into that same account a short time
16   later – until it reached the DB accounts, where it was pooled. Below is a partial
17   summary of the insurance payments and transfers relating to the 18 WFB accounts.
18                a.    Between January 1, 2008 and December 2013, approximately
19   50,000 credits posted to the 18 WFB accounts, totaling approximately $400
20   million. The chart below shows approximate totals deposited into the 18 accounts
21   by the top five insurers, totaling approximately $127,475,024.
22
       $43,352,921                Aetna Life Insurance Company
23
       $40,143,454                United HealthCare Insurance Company
24
       $20,442,668                Anthem Blue Cross
25
       $13,587,894                CIGNA (Connecticut General Life Insurance
26                                Company)
27     $7,986,186                 Anthem Blue Cross & Blue Shield
28
                                                 40
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1          42.    The transfers do not appear to have been motivated by interest
2    sensitivity, either. For example, more than $13 million was held in two Omidi-
3    controlled accounts in the name of JER Collection Specialists, Inc. at BofA. C.
4    Omidi, J. Omidi and M. Omidi had signature authority over the two accounts. On
5    September 2, 2011, $13,789,986.18 was transferred from an interest bearing
6    account (BofA 3865) to a non-interest bearing account (BofA 3836), where the
7    money remained until February 16, 2012 (over five months), when it was
8    transferred to other accounts. These funds ultimately came to rest in several of the
9    defendant DB accounts.
10   V.    ACQUISITIONS OF REAL ESTATE DURING THE RELEVANT
11         PERIOD
12         43.    The following real estate acquisitions were made by one or more of
13   the Omidis or an Omidi-controlled entity during the relevant period:
14                a.    Real property in Palmdale, CA (Los Angeles County Assessor’s
15   ID number 3003-002-011 & 26), purchased in 2003 for approximately $1,250,000
16   by Pacific West Dermatology, and subsequently transferred to C. Omidi on July
17   10, 2008.
18                b.    Real property in Woodland Hills, CA (Los Angeles County
19   Assessor’s ID number 2171-012-032), purchased on January 28, 2010 for
20   $410,000 by OCM 26, LLC. $402,750 was wire transferred from Top Surgeons,
21   WFB 9717 on January 27, 2010 to purchase the property.
22                c.    Real property in West Hollywood, CA (Los Angeles County
23   Assessor’s ID number 4392-016-028), purchased on May 7, 2010 for $8,400,000
24   by FJKJ, LLC. Payments of $8,400,000 and $20,831.55 were made using
25   cashier’s checks purchased on May 4, 2010, and May 6, 2010, respectively, with
26   funds from Top Surgeons WFB 6262.
27                d.    Two real properties were acquired and a note securing a third
28   property was purchased with funds drawn from a “deposit holding escrow”
                                              41
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1    account, as follows: $9,400,000 was deposited into the deposit holding escrow
2    account between January 14, 2011 and September 30, 2011. These funds were
3    transferred from Omidi-controlled bank accounts. Specifically, $400,000 was
4    transferred from WFB 4735 on January 14, 2011; $4,000,000 was transferred from
5    WFB 1929 on February 28, 2011; and $5,000,000 was transferred from BofA 3190
6    on September 30, 2011. An additional $1,699,000 was also transferred to the
7    deposit holding escrow on August 2, 2011 from another cancelled escrow where
8    $1,700,000 was wire transferred from WFB 1929 on April 25, 2011.
9                       i.    The first piece of real property acquired with these funds
10   was a commercial property located at 1700 Pointe Drive, Valparaiso, IN (Porter
11   County Assessor’s ID number 64-10-07-328-001), acquired for $2,000,000 in the
12   name of SCM on March 18, 2011.
13                     ii.    The second piece of real property acquired with these
14   funds was a commercial property located at 1980 North Orange Grove Avenue,
15   Pomona, CA (Los Angeles County Assessor’s ID number 8362-007-050), acquired
16   for $1,100,000 in the name of Orange Grove Surgery Center, LLC on April 22,
17   2011.
18                    iii.    $2,700,000 was used to purchase a note secured by 3434
19   Midway, San Diego, CA in the name ASC Capital Management, Inc. on November
20   22, 2011, (the real property was transferred to Summit Properties, LLC on April 1,
21   2014). An additional $150,000 was wire transferred directly to the escrow from
22   WFB 4989 on November 16, 2011.
23                    iv.     Finally, $3,651,039.39 was transferred to WFB 0200 on
24   March 7, 2012.
25               e.      Real property in Malibu, CA (Los Angeles County Assessor’s
26   ID number 4450-005-052), purchased on December 4, 2012 for $500,000 by
27   Beverly Hills Estate, LLC. $487,616.61 was transferred from Chase 7697 to
28   purchase the property.
                                             42
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1                 f.      Real property in West Hollywood, CA (Los Angeles County
2    Assessor’s ID number 4392-016-029), purchased on December 10, 2013, for
3    $2,700,000 in the name of Beverly Hills Estate, LLC, using a transfer of
4    $2,705,261.34 from Chase 7697 on December 4, 2013.
5                              FIRST CLAIM FOR RELIEF
6                                 (18 U.S.C. § 981(a)(1)(C))
7          44.    Based on the facts set out above, plaintiff alleges that the defendant
8    assets are subject to forfeiture to the United States pursuant to 18 U.S.C.
9    § 981(a)(1)(C) on the ground that they are property that constitutes or was derived
10   from proceeds traceable to one or more violations of 18 U.S.C. §§ 1035, 1341,
11   1343, and/or 1347.
12                            SECOND CLAIM FOR RELIEF
13                                (18 U.S.C. § 981(a)(1)(A))
14         45.    Based on the facts set out above, plaintiff alleges that the defendant
15   assets are subject to forfeiture to the United States pursuant to 18 U.S.C.
16   § 981(a)(1)(A) on the ground that they are property involved in one or more
17   transactions or attempted transactions in violation of 18 U.S.C. §§ 1956 or 1957.
18         WHEREFORE, plaintiff United States of America prays that:
19         (a)    due process issue to enforce the forfeiture of the defendant;
20         (b)    due notice be given to all interested parties to appear and show cause
21   why forfeiture should not be decreed;
22         (c)    that this Court decree forfeiture of the defendant to the United States
23   of America for disposition according to law; and
24   ///
25   ///
26   ///
27   ///
28   ///
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1           (d)   for such other and further relief as this Court may deem just and
2    proper, together with the costs and disbursements of this action.
3
4    DATED: May 8, 2018         TRACY L. WILKISON
                                Attorney for the United States
5                               Acting Under Authority Conferred by 28 U.S.C. § 515
6                               LAWRENCE S. MIDDLETON
                                Assistant United States Attorney
7                               Chief, Criminal Division
8
                                    /s/ Steven R. Welk
9                               STEVEN R. WELK
                                Assistant United States Attorney
10                              Chief, Asset Forfeiture Section
11
                                Attorneys for Plaintiff
12                              UNITED STATES OF AMERICA
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